

Matter of Xavier S.-S. (Emily S.) (2022 NY Slip Op 06338)





Matter of Xavier S.-S. (Emily S.)


2022 NY Slip Op 06338


Decided on November 10, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 10, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., SMITH, CENTRA, WINSLOW, AND BANNISTER, JJ.


656 CAF 21-00076

[*1]IN THE MATTER OF XAVIER S.-S. GENESEE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; EMILY S., RESPONDENT-APPELLANT. (APPEAL NO. 3.)






KELIANN M. ARGY, ORCHARD PARK, FOR RESPONDENT-APPELLANT.
ADAM H. VANBUSKIRK, AUBURN, FOR PETITIONER-RESPONDENT.
DAVID J. PAJAK, ALDEN, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Genesee County (Thomas M. DiMillo, A.J.), entered December 23, 2020 in a proceeding pursuant to Social Services Law § 384-b. The order, among other things, transferred respondent's guardianship and custody rights with respect to the subject child to petitioner. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Briana S.-S. (Emily S.) ([appeal No. 2] — AD3d — [Nov. 10, 2022] [4th Dept 2022]).
Entered: November 10, 2022
Ann Dillon Flynn
Clerk of the Court








